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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x

UNITED STATES OF AMERICA,                                 23-Cr-490 (SHS)

                  -v-                                     ORDER

ROBERT MENENDEZ, NADINE
MENENDEZ, W AEL HANA, JOSE
URIBE, and FRED DAIBES,

                          Defendants.

------------------------------------------------------x


SIDNEY H. STEIN, U.S. District Judge.

       IT IS HEREBY ORDERED that Nicholas J. Lewin's motion to withdraw as counsel
[ECF Doc. No. 7 6] is granted. The Clerk of Court is directed to terminate Mr. Lewin' s
appearance on ECF in this matter.


Dated: New York, New York
       October 17, 2023

                                                          SO ORDERED:
